                                  EXHIBIT E
                             [October 2021 Invoice]




DOCS_DE:238894.1 18502/001
 Case 1-20-10322-CLB, Doc 1680-5, Filed 04/25/22, Entered 04/25/22 18:41:26,
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                               Pachulski Stang Ziehl & Jones LLP
                                         780 Third Avenue
                                            34th Floor
                                        New York, NY 10017
                                                              October 31, 2021
IDS                                                           Invoice 129102
                                                              Client   18502
                                                              Matter   00002
                                                                       IDS

RE: Committee Representation

 _______________________________________________________________________________________

         STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 10/31/2021
               FEES                                             $31,554.50
               EXPENSES                                            $501.00
               TOTAL CURRENT CHARGES                            $32,055.50

               BALANCE FORWARD                                 $300,246.76
               TOTAL BALANCE DUE                               $332,302.26




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  Summary of Services by Professional
  ID        Name                        Title              Rate       Hours               Amount

 BMM        Michael, Brittany M.        Counsel           695.00       3.10             $2,154.50

 IAWN       Nasatir, Iain A. W.         Partner           700.00       3.30             $2,310.00

                                                                      38.70         $27,090.00
 IDS        Scharf, Ilan D.             Partner           700.00
                                                                     45.10              $31,554.50




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  Summary of Services by Task Code
  Task Code         Description                                 Hours                        Amount

 BL                 Bankruptcy Litigation [L430]                 9.80                       $6,860.00

 CO                 Claims Admin/Objections[B310]               20.50                      $14,347.00

 GC                 General Creditors Comm. [B150]               5.50                       $3,837.50

 IC                 Insurance Coverage                           6.80                       $4,760.00

 ME                 Mediation                                    1.50                       $1,050.00

 SL                 Stay Litigation [B140]                       1.00                        $700.00

                                                                        45.10              $31,554.50




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  Summary of Expenses
  Description                                                                           Amount
Outside Services                                                                  $500.00
Pacer - Court Research                                                              $1.00

                                                                                        $501.00




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                                                                                     Hours           Rate        Amount

  Bankruptcy Litigation [L430]
 10/06/2021   IDS      BL       Call with Debtor's counsel regarding POC              0.40        700.00         $280.00
                                disclosures.
 10/06/2021   IDS      BL       Email to Quinlan regarding disclosure of POC info.    0.40        700.00         $280.00
 10/06/2021   IDS      BL       Review debtor email regarding disclosure of POC       0.40        700.00         $280.00
                                info.
 10/06/2021   IDS      BL       Call with Benson, Boyd, regarding disclosures.        0.40        700.00         $280.00
 10/12/2021   IDS      BL       Email to SCC regarding Connors firm disclosure of     0.80        700.00         $560.00
                                POCs
 10/12/2021   IDS      BL       Call with SCC regarding Connors firm disclosures      0.50        700.00         $350.00
                                POCs
 10/12/2021   IDS      BL       Review memo from Quinlan regarding disclosures        0.40        700.00         $280.00
                                POCs
 10/12/2021   IDS      BL       Review Bar Date Order with respect to Quinlan         0.40        700.00         $280.00
                                memo regarding disclosures of POCs.
 10/12/2021   IDS      BL       Email to Benson, Boyd regarding Connors firm          0.40        700.00         $280.00
                                disclosures of POCs.
 10/19/2021   IDS      BL       SCC call regarding confidentiality provisions.        0.20        700.00         $140.00
 10/27/2021   IDS      BL       Telephone conference with S. Boyd, S. Benson          0.40        700.00         $280.00
                                regarding parish stay stipulation.
 10/28/2021   IDS      BL       Review research re sanctions for disclosure of        2.20        700.00        $1,540.00
                                confidential information.
 10/29/2021   IDS      BL       Review information regarding new allegation           0.40        700.00         $280.00
                                claims.
 10/29/2021   IDS      BL       Review bar date order, procedures regarding           0.60        700.00         $420.00
                                disclosure of claim info.
 10/29/2021   IDS      BL       Review Temes email regarding disclosure of claim      0.30        700.00         $210.00
                                information.
 10/29/2021   IDS      BL       Call with Benson regarding disclosure of POC          0.80        700.00         $560.00
                                information.
 10/29/2021   IDS      BL       Review precedent regarding disclosure of              0.80        700.00         $560.00
                                confidential POC information.

                                                                                      9.80                      $6,860.00

  Claims Admin/Objections[B310]
 10/01/2021   BMM      CO       Call with Debtor's counsel regarding claims access    0.60        695.00         $417.00
                                issues.
 10/05/2021   IDS      CO       Claims review and analysis.                           3.50        700.00        $2,450.00




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                                                                                      Hours           Rate         Amount
 10/06/2021   IDS      CO       Claims review and analysis.                            4.00        700.00        $2,800.00
 10/07/2021   IDS      CO       Claims review and analysis.                            5.00        700.00        $3,500.00
 10/11/2021   IDS      CO       Continue claims review and anlysis.                    3.40        700.00        $2,380.00
 10/26/2021   IDS      CO       Claims review and analysis                             2.20        700.00        $1,540.00
 10/29/2021   IDS      CO       Claims review and analysis.                            1.80        700.00        $1,260.00

                                                                                      20.50                      $14,347.00

  General Creditors Comm. [B150]
 10/21/2021   BMM      GC       Participate in Committee meeting regarding ongoing     1.00        695.00          $695.00
                                case issues.
 10/22/2021   IDS      GC       Committee meeting re case issues.                      1.00        700.00          $700.00
 10/26/2021   IDS      GC       Email to SCC re update of pending matters              0.20        700.00          $140.00
 10/28/2021   IDS      GC       Draft agenda for committee meeting                     0.40        700.00          $280.00
 10/28/2021   IDS      GC       Attend committee meeting re case issues, mediation     1.20        700.00          $840.00
 10/28/2021   IDS      GC       Email with Committee chair re case issues              0.20        700.00          $140.00
 10/28/2021   BMM      GC       Participate in Committee meeting regarding             1.20        695.00          $834.00
                                mediator selection and other case issues.
 10/28/2021   BMM      GC       Call with I. Scharf regarding Committee meeting        0.30        695.00          $208.50
                                follow-up.

                                                                                       5.50                       $3,837.50

  Insurance Coverage
 10/19/2021   IDS      IC       Continue insurance analysis.                           1.80        700.00        $1,260.00
 10/21/2021   IAWN IC           Prepare for call w/ review of policies and coverage    2.20        700.00        $1,540.00
 10/27/2021   IDS      IC       Insurance analysis.                                    2.80        700.00        $1,960.00

                                                                                       6.80                       $4,760.00

  Mediation
 10/26/2021   IAWN ME           Review Scharf email re mediator selection and other    0.20        700.00          $140.00
                                developments in agenda
 10/28/2021   IAWN ME           Telephone conference w/committee re mediation          0.90        700.00          $630.00
                                (partial)
 10/28/2021   IDS      ME       Email with SCC re mediator selection                   0.20        700.00          $140.00
 10/28/2021   IDS      ME       Follow up email with SCC re mediator selection         0.20        700.00          $140.00

                                                                                       1.50                       $1,050.00




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                                                                                      Hours           Rate       Amount

  Stay Litigation [B140]
 10/22/2021   IDS      SL       Email to Committee regarding parish stay extension.    0.20        700.00        $140.00
 10/26/2021   IDS      SL       Email to Benson regarding parish stay.                 0.20        700.00        $140.00
 10/28/2021   IDS      SL       Call with Sullivan, Walter re service of complaint     0.20        700.00        $140.00
                                against Diocesan affiliate
 10/28/2021   IDS      SL       Call with Benson re service of complaint against       0.20        700.00        $140.00
                                Diocesan affiliate
 10/28/2021   IDS      SL       Email with Sullivan, Walter, Benson re service of      0.20        700.00        $140.00
                                complaint against Diocesan affiliate

                                                                                       1.00                      $700.00

  TOTAL SERVICES FOR THIS MATTER:                                                                            $31,554.50




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 Expenses

 10/31/2021   OS         Everlaw, Inv. 47226, Diocese of Buffalo database for the      500.00
                         Month of October


 10/31/2021   PAC        Pacer - Court Research                                          1.00

   Total Expenses for this Matter                                                   $501.00




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                                                REMITTANCE ADVICE

                                    Please inlcude this Remittance with your payment

For current services rendered through:        10/31/2021

Total Fees                                                                                             $31,554.50

Total Expenses                                                                                               501.00

Total Due on Current Invoice                                                                           $32,055.50

  Outstanding Balance from prior invoices as of        10/31/2021          (May not include recent payments)

A/R Bill Number           Invoice Date              Fees Billed         Expenses Billed              Balance Due
 125270                   04/30/2020               $109,192.50             $625.07                    $10,919.25

 125276                   05/31/2020               $152,307.50             $578.14                    $15,230.75

 125334                   06/30/2020                $41,562.50           $1,006.09                      $4,156.25

 126177                   07/31/2020                $51,502.50           $1,349.12                      $5,150.25

 126524                   08/31/2020                $33,130.00             $247.58                      $7,891.75

 128245                   03/31/2021                $32,659.50             $555.35                      $3,448.23

 128247                   04/30/2021                $18,006.50             $514.72                    $18,521.22

 128249                   05/31/2021                $18,814.50             $500.00                    $19,314.50

 129096                   06/30/2021                $11,449.00             $500.00                    $11,949.00

 129097                   07/31/2021                $36,061.00             $594.20                    $36,655.20

 129098                   08/31/2021                $74,858.50             $796.74                    $75,655.24

 129099                   09/30/2021                $88,880.00           $2,475.12                    $91,355.12

             Total Amount Due on Current and Prior Invoices:                                          $332,302.26




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